               Case 2:15-cr-00164-TLN Document 61 Filed 04/25/17 Page 1 of 5


 1   LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
 2
     455 Capitol Mall, Suite 802
 3   Sacramento, California 95814
     (916) 504-3933
 4   toddleras@gmail.com
     Attorney for Defendant
 5
     MOISES TORRES
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:15-CR-164 TLN
12
                    Plaintiff,
13
     vs.                                               STIPULATION AND ORDER
14                                                     CONTINUING STATUS CONFERENCE
     SECUNDINO ESQUIBEL, OSCAR                         AND EXCLUDING TIME UNDER THE
15                                                     SPEEDY TRIAL ACT
     GONZALEZ, MANUEL MARZIEL,
16   ANTONIO GOMEZ, and MOISES TORRES,
                                                       Date:      June 15, 2017
17                  Defendants.                        Time:       9:30 a.m.
                                                       Court:     Hon. Troy L. Nunley
18

19

20

21
            This matter is presently set for a status conference on April 27, 2017. The case involves
22

23   allegations of marijuana manufacturing and depredation of public resources. The government

24   has provided discovery to defense counsel including written reports, voluminous photographs,
25   and videotapes relating to a large marijuana grow site in Trinity County. The grow site is located
26
     near the rural community of Wildwood within the Shasta-Trinity National Forest, approximately
27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:15-cr-00164-TLN Document 61 Filed 04/25/17 Page 2 of 5


 1   185 miles from Sacramento. In addition to the distance of the crime site, the case is complicated
 2
     by the fact that most defendants in this case speak Spanish as their primary language and
 3
     therefore require the assistance of a Spanish language interpreter for case preparation.
 4
            The parties to this action, Assistant U.S. Attorney Ross Naughton, Attorney Michael
 5

 6   Hingle on behalf of Defendant Secundino Esquibel, Attorney Jesse Ortiz on behalf of Defendant

 7   Oscar Gonzalez, Attorney Olaf Hedberg on behalf of Defendant Manuel Marziel, Attorney
 8
     Clemente Jimenez on behalf of Defendant Antonio Gomez, and Attorney Todd D. Leras on
 9
     behalf of Defendant Moises Torres, stipulate as follows:
10
            1. Defendants now move to vacate the status conference presently set for April 27,
11

12              2017. The parties request to continue the status conference to June 15, 2017, at 9:30

13              a.m., and to exclude time between April 27 and June 15, 2017 under Locl Code T-4.
14
                The United States does not oppose this request.
15
            2. Due to the ongoing review of discovery and defense investigation related to potential
16
                defenses in this matter, defense counsel need additional time to prepare. This
17

18              investigation is necessary to ensure that potential defenses are explored and discussed

19              with each defendant in the case, including several defendants for whom Spanish is
20
                their primary language.
21
            3. All defense counsel represent and believe that failure to grant additional time as
22
                requested would deny each of them the reasonable time necessary for effective
23

24              preparation, taking into account the exercise of due diligence.

25          4. Based on the above-stated facts, the parties jointly request that the Court find that the
26
                ends of justice served by continuing the case as requested outweigh the best interest
27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:15-cr-00164-TLN Document 61 Filed 04/25/17 Page 3 of 5


 1              of the public and the Defendants in a trial within the time prescribed by the Speedy
 2
                Trial Act.
 3
            5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 4
                seq., within which trial must commence, the time period of April 27, 2017 to June 15,
 5

 6              2017, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B)

 7              (iv) [Local Code T-4] because it results from a continuance granted by the Court at
 8
                Defendants’ request on the basis that the ends of justice served by taking such action
 9
                outweigh the best interest of the public and the Defendants in a speedy trial.
10
            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
11

12              the Speedy Trial Act dictate that additional time periods are excludable from the

13              period within which a trial must commence.
14
            Assistant U.S. Attorney Ross Naughton and all defense counsel have reviewed this
15
     proposed order and authorized Todd Leras to sign it on their behalf.
16

17

18   DATED: April 24, 2017
                                                          By      Todd D. Leras for
19                                                                ROSS NAUGHTON
                                                                  Assistant United States Attorney
20

21   DATED: April 24, 2017
                                                          By      Todd D. Leras for
22                                                                MICHAEL HINGLE
                                                                  Attorney for Defendant
23
                                                                  SECUNDINO ESQUIBEL
24
     DATED: April 24, 2017
25                                                        By      /s/ Todd D. Leras for
                                                                  JESSE ORTIZ
26
                                                                  Attorney for Defendant
27                                                                OSCAR GONZALEZ
     ORDER CONTINUING STATUS
28   CONFERENCE
             Case 2:15-cr-00164-TLN Document 61 Filed 04/25/17 Page 4 of 5


 1   DATED: April 24, 2017
                                              By    Todd D. Leras for
 2
                                                    OLAF HEDBERG
 3                                                  Attorney for Defendant
                                                    MANUEL MARZIAL
 4
     DATED: April 24, 2017
 5
                                              By    Todd D. Leras for
 6                                                  CLEMENTE JIMENEZ
                                                    Attorney for Defendant
 7                                                  ANTONIO GOMEZ
 8
     DATED: April 24, 2017
 9                                            By    /s/ Todd D. Leras
                                                    TODD D. LERAS
10                                                  Attorney for Defendant
                                                    MOISES TORRES
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:15-cr-00164-TLN Document 61 Filed 04/25/17 Page 5 of 5


 1                                                ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for April 27, 2017, is vacated.
 4
     A new status conference is scheduled for June 15, 2017, at 9:30 a.m. The Court further finds,
 5

 6   based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from April 27, 2017, up to and
11

12   including June 15, 2017.

13   DATED: April 25, 2017
14

15
                                                            Troy L. Nunley
16
                                                            United States District Judge
17

18

19

20

21

22

23

24

25

26

27
     ORDER CONTINUING STATUS
28   CONFERENCE
